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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

  Case No.       EDCV 20-2360 JGB (SPx)                               Date January 27, 2021
  Title Luis Licea v. Audible, Inc., et al.


  Present: The Honorable         JESUS G. BERNAL, UNITED STATES DISTRICT JUDGE


                MAYNOR GALVEZ                                          Not Reported
                  Deputy Clerk                                        Court Reporter


     Attorney(s) Present for Plaintiff(s):                 Attorney(s) Present for Defendant(s):
                  None Present                                         None Present

  Proceedings:      Order DISMISSING Plaintiff’s Complaint (Dkt. No. 1)



         Before the Court is a Motion to Compel Arbitration filed by Defendant Audible, Inc.
 (“Audible”). (“Motion,” Dkt. No. 20.) The Court finds the Motion appropriate for resolution
 without a hearing. See Fed. R. Civ. P. 78; L.R. 7-15. After considering the papers filed in support
 of and in opposition to the Motion, the Court DISMISSES the Complaint (Dkt. No. 1) for lack of
 subject matter jurisdiction and DENIES the Motion as moot.

                              I. PROCEDURAL BACKGROUND

        On November 12, 2020, Plaintiff Luis Licea (“Plaintiff”) filed a Complaint against
 Defendant, alleging four causes of action: 1) failure to present automatic renew offer terms clearly
 and conspicuously, in violation of Cal. Bus. & Prof. Code § 14602(a)(I); 2) failure to obtain
 consumer’s affirmative consent before subscription charges are imposed, in violation of Cal. Bus.
 & Prof. Code §§ 17602(a)(2) and 17603; 3) failure to provide acknowledgement with automatic
 renewal terms and information regarding cancellation policy, in violation of Cal. Bus. & Prof.
 Code § 17602(a)(3); and 4) violation of California’s unfair competition law, Cal. Bus. & Prof.
 Code § 17200 et seq. (See Complaint.)

       On December 24, 2020, Defendant moved to compel arbitration. (See Motion.) Plaintiff
 opposed on January 11, 2021. (“Opposition,” Dkt. No. 21.) Defendant replied in support of its
 Motion on January 18, 2021. (“Reply,” Dkt. No. 22.)



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                                 II. FACTUAL BACKGROUND

          The Complaint alleges the following facts. Plaintiff is a California consumer who
 accepted an offer from Defendant, a Delaware audiobook corporation, for a free trial month.
 (Complaint ¶¶ 1, 3.) Defendant failed to present the automatic renewal terms and other terms
 required by law clearly. (Id. ¶¶ 2, 18-20.) Defendant fills in the picture:1 Plaintiff signed up for a
 one-month free trial on June 2, 2020; cancelled 32 days later; and was charged $14.95. (Motion
 at 2, 8.) Plaintiff pleads no other damages.

                                     III. LEGAL STANDARD

         Federal courts have limited jurisdiction, “possessing only that power authorized by
 Constitution and statute.” Gunn v. Minton, 568 U.S. 251, 256 (2013). “The district courts ...
 have original jurisdiction of all civil actions where the matter in controversy exceeds the sum or
 value of $75,000.00, exclusive of interest and costs, and is between ... citizens of different
 states.” 28 U.S.C. § 1332(a). Generally, the amount in controversy claimed by a plaintiff in good
 faith will be determinative of the jurisdictional amount, unless it appears to a legal certainty that
 the value of the claim is less than $75,000. St. Paul Mercury Indem. Co. v. Red Cab Co., 303
 U.S. 283, 288–89, (1938). When the complaint does not demand an exact amount, the amount in
 controversy includes the amount of damages in dispute, as well as attorney's fees, if authorized by
 statute or contract. See Kroske v. US Bank Corp., 432 F.3d 976, 980 (9th Cir. 2005).

         “If the court determines at any time that it lacks subject-matter jurisdiction, the court
 must dismiss the action.” Fed. R. Civ. P. 12(h)(3). “Without jurisdiction the court cannot
 proceed at all in any cause. Jurisdiction is power to declare the law, and when it ceases to exist,
 the only function remaining to the court is that of announcing the fact and dismissing the cause.”
 Ex parte McCardle, 7 Wall. 506, 514, 19 L.Ed. 264 (1868). Thus, the Court must address any
 jurisdiction questions first, before reaching the merits of the Motion. Steel Co. v. Citizens for a
 Better Env't, 523 U.S. 83, 101 (1998).

                                         IV. DISCUSSION

         Plaintiff has not alleged an amount in controversy sufficient for federal court jurisdiction.
 Plaintiff argues that together, attorneys’ fees and damages are likely to top $75,000. (Opposition
 at 3.) But the Court is at a loss to understand how a dispute over $15 is likely to require
 $74,985.06 in attorneys’ fees. At a rate of $500/hour, that would require 150 hours of work.
 Plaintiff cites Kissel v. Code 42 Software Inc., No. 815CV01936JLSKES, 2018 WL 6113078, at
 *4-5 (C.D. Cal. Feb. 20, 2018) as an example of a case where counsel bringing very similar factual
 and legal claims netted a six-figure attorneys’ fee. But Kissel was a class action; it is
 understandable, therefore, that it required 159.5 hours of work. Id. Where Plaintiff has not



         1In determining jurisdiction, a court may consider evidence beyond the complaint. Safe
 Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2003).
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 brought a class action, the attorneys’ fees are likely to be much lower. The Court therefore
 DISMISSES the Complaint for lack of subject matter jurisdiction.


                                      V.    CONCLUSION

        For the reasons above, the Court DISMISSES Plaintiff’s Complaint. The Clerk is
 directed to close the case.



 IT IS SO ORDERED.




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